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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In Re:                                        )
                                              )
CHARLES A. BRAHOS,                            )       Chapter 7
                                              )       Case No. 16-02160
                      Debtor.                 )
                                              )
                                              )       Hon. A. Benjamin Goldgar
BMO HARRIS BANK N.A., f/k/a Harris            )
N.A. as Assignee of the Federal Deposit       )
Insurance Corporation as Receiver for         )
Amcore Bank, N.A.                             )
                                              )
                      Plaintiff,              )
                                              )       Adv. Pro. No. 16 AP ________
v.                                            )
                                              )
CHARLES A. BRAHOS,                            )
                                              )
                      Defendant.              )


          COMPLAINT TO DETERMINE NON-DISCHARGEABILITY OF DEBT

         BMO HARRIS BANK N.A., f/k/a HARRIS N.A., as Assignee of the Federal Deposit

Insurance Corporation as Receiver for Amcore Bank N.A.              ("Harris"), by its undersigned

counsel, for its complaint against debtor Charles A. Brahos (the "Debtor"), alleges:

                                      Parties and Jurisdiction

         1.    This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334.

Venue is proper here pursuant to 28 U.S.C. § 1409. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b)(2)(I).

         2.    The statutory basis for this complaint is 11 U.S.C. § 523.

         3.    Harris is a federal depository institution and has offices throughout Illinois.
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        4.     The Debtor is an individual and resident of Illinois.

                                    Background Allegations

        5.     On April 23, 2010, the Federal Deposit Insurance Corporation assigned the assets

of Amcore Bank, N.A., including the loan documents which are subject to this action, to the

Bank.

        6.     On October 2, 2007, Debtor executed and delivered to Bank a promissory note in

the original principal amount of $750,000.00, which was subsequently modified by a Change in

Terms Agreement dated October 2, 2008 (together with the Promissory Note, the “Note”). A

copy of the Note is attached as Exhibit A hereto.

        7.     In connection with the Note and to secure the loan to the Bank, Brahos granted to

the Bank a mortgage (the “Mortgage”) dated October 2, 2007 against real estate commonly

known as Lot 3, 1600 Cloverdale, Highland Park, Illinois 60035 (the “Property”).

        8.     Debtor defaulted on the Note, and on July 9, 2009, the Bank filed a suit to

foreclose its Mortgage and for breach of the Note as Case No 09 CH 2537 in the Circuit Court of

Lake County, Illinois (the “Lawsuit”).

        9.     After a bench trial, the Circuit Court entered an Order of Judgment and Judgment

of Foreclosure and Sale in favor of the Bank (the “Judgment Order”). A copy of the Judgment

Order is attached hereto as Exhibit B.

        10.    The Judgment Order entered a judgment of foreclosure and sale against the

Property in the amount of $1,753,055.89 and entered a judgment in favor of the Bank in the same

amount regarding the Bank’s breach of note claim. The Judgment Order also dismissed Brahos’

counterclaim in its entirety.




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       11.     The Property was originally scheduled for a Sheriff’s sale on January 26, 2016.

On January 25, 2016, the eve of the sale, the Debtor filed for relief under Chapter 7.

       12.     The Bank filed a Motion for Relief from the Automatic Stay in order to proceed

with the Sheriff’s sale which was granted by this Court. However, Debtor filed on March 10,

2016 an appeal of the Judgment Order (the “Appeal”) with the State of Illinois Appellate Court

Second District (the “Appellate Court”) and the State Court stayed the sale process pending the

outcome of the Appeal.

       13.     The date of the filing of the Appeal is subsequent to the filing of this chapter 7

proceeding.

       14.     The Appellate Court issued a Final Order dated April 27, 2016 dismissing the

Appeal.

       15.     Notwithstanding the dismissal of the Appeal, Debtor filed on May 5, 2016, a

“Notice of Motion to Re-Instate Notice of Appeal and to File the Docket Statement Required”.

This is currently pending in the Appellate Court.

       16.     On January 25, 2016, Debtor filed his Statement of Financial Affairs (the “First

SOFA”). On Debtor’s Official Form 107, Statement of Financial Affairs for Individuals Filing

for Bankruptcy, Debtor answers that there were no payments by the debtor owed to an insider or

payments or transfers of any property on account of a debt that benefited an insider within 1 or 2

year of the filing of the bankruptcy petition. Official Form 107 Part 3 questions 7 and 8 and 11

U.S.C. Section 523.

       17.     On March 11, 2016, Debtor filed Amended Schedules of Financial Affairs (the

“Second SOFA”). In the Second SOFA, Debtor discloses a transfer of his interest in a land trust

to his spouse. However, Debtor continued to answer “no” as to any transfers, sale, or trades of



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any property other than in the ordinary course of business within two years of the filing of the

bankruptcy petition.

       18.     A 2004 examination of the Debtor was taken on April 11, 2016. In that

examination, Debtor stated that he had transferred the beneficial interest in a trust to his wife,

Sharon Brahos, without consideration.

                                             Count I

                 Objection to dischargeability pursuant to 11 U.S.C. § 523(a)(2)(A)

       19.     Harris incorporates herein by reference the allegations of paragraphs 1-18 above.

       20.     Debtor transferred his interest in a trust to Sharon Brahos, his spouse, in an

Assignment of Beneficial Interest dated January 2, 2015, which was received by the Trustee on

September 29, 2015 (the “Assignment”). A copy of the Assignment is attached as Exhibit C.

       21.     The Assignment was executed and delivered subsequent to the filing of the legal

action against Debtor by the Bank and for the purpose of removing assets from the Debtor which

would otherwise be subject to action by a creditor of the Debtor.

       22.     Upon information and belief, the real property which is the subject of the

Assignment, 4219 Kirk Street, Skokie, Illinois, was sold on or about October 1, 2015 for

$499,000.00. This sale is omitted from Debtor’s SOFA.

       23.     That Debtor’s execution of the Assignment caused the transfer of assets that

would otherwise be available to creditors of the Debtor.

       24.     Debtor’s execution of the Assignment is a fraudulent conveyance and is a transfer

of assets for no consideration and was done with the purpose of transferring assets to a third

party with the purpose of impairment of a creditor’s ability to collect the debt. The transfer




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constitutes “actual fraud”. See Husky International Electronics, Inc. v. Ritz, 578 U.S. ____ (May

16, 2016).

       25.    Debtor’s transfer of assets by the execution of the Assignment was in violation of

11 U.S.C.¶ 523(a)(2).

       26.    The debt owed from the Debtor to Harris is non-dischargeable pursuant to

Bankruptcy Code § 523(a)(2)(A).

WHEREFORE, BMO Harris Bank, N.A. prays that this Court enter judgment:

       a)     finding that the amount of the judgment against Charles A. Brahos is non-

dischargeable pursuant to 11 USC § 523(a)(2)(A); and

       b)     awarding such other relief as the Court deems just and proper.

                                              Count II

                  Objection to dischargeability pursuant to 11 U.S.C. § 727

       27.    Plaintiff incorporates by reference the allegations contained in paragraphs 1-26

above as though more fully restated herein.

       28.    Debtor transferred his interest in a trust to Sharon Brahos, his spouse, in an

Assignment of Beneficial Interest dated January 2, 2015, which was received by the Trustee on

September 29, 2015 (the “Assignment”). A copy of the Assignment is attached as Exhibit C.

       29.    Debtor filed a Statement of Financial Affairs (the “January SOFA”) as to this case

on January 25, 2016.

       30.    Debtor failed to identify the Assignment in Official Form 107 question 8 and

answered “No” to the question pertaining to transfers in the January SOFA.

       31.    In the January SOFA, Debtor failed to identify an Exclusive Right to Sell

Marketing Agreement dated January 1, 2016, by and between The Brahos Group, as broker and



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Equity Trust Company, as seller, for real estate located at 145 Berkeley Road, Highland Park, IL.

Upon information and belief, The Brahos Group is not an organized entity but rather is the alter

ego of Debtor and under his control and direction. A copy of the Exclusive Right to Sell

Marketing Agreement is attached as Exhibit D.

       32.     Debtor failed to disclose the existence of CABBAC and any ownership interest of

Debtor in the January SOFA.

       33.     In the January SOFA, Debtor identified an IRA accounts with LPL Financial, San

Diego, CA and Equity Trust Company, Columbus, OH as having $0 value. See January SOFA

question 21. A copy of January SOFA question 21 is attached as Exhibit E.

       34.     As part of the completion of the January SOFA, Debtor was required to sign

Official Form 106 Dec (Declaration About an Individual Debtor’s Schedules). Debtor signed

such declaration on January 25, 2016.

       35.     As part of the January SOFA, Debtor did not identify any transfers made by him

as responses to questions 17-19.

       36.     Debtor caused to be filed amended schedules on March 11, 2016 as Document

Number 27 (the “March SOFA”).

       37.     In the March SOFA, the Debtor identifies for the first time the Assignment.

       38.     As part of the completion of the March SOFA, Debtor was required to sign

Official Form 106 Dec (Declaration About an Individual Debtor’s Schedules). Debtor signed

such declaration.

       39.     On April 11, 2016, immediately subsequent to the completion of a Rule 2004

examination of Debtor, Debtor caused to be filed another SOFA (the “April SOFA”).




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        40.    In the April SOFA, Debtor identified for the first time an IRA with the Equity

Trust Company, Columbus OH valued at $320,000.00. The April SOFA were only filed after the

2004 examination of the Debtor and the Debtor’s disclosure, for the first time, of the value of the

IRA with Equity Trust Company.

        41.    Plaintiff was awarded the Judgment Order against the Debtor. Subsequent to the

filing of this case, Debtor has filed appeals of the Judgment Order. Upon information and belief,

the Trustee has advised Debtor that any appeal is property of the Estate and to cease action on

any appeals. Debtor has refused to comply with the directions of the Trustee, causing Plaintiff

additional costs and expenses.

        42.    Plaintiff caused a Rule 2004 examination of the Debtor to occur on April 11,

2016.

        43.    Debtor disclosed for the first time that the IRA contained any assets and the

amounts.

        44.    Debtor testified at the Rule 2004 examination in detail regarding the Assignment

and its occurrence after the commencement of the State Court litigation against Debtor.

        45.    Debtor further testified at the Rule 2004 examination that counsel for Debtor

provided the values of numerous personal assets listed in the each of the SOFA and that he did

not know the values listed despite Debtor’s execution of each of the filed SOFA.

        46.    Debtor’s actions constitute and show intent to hinder, delay or defraud both

Plaintiff, a creditor, and the Trustee by not revealing transfers and concealing assets of the

Debtor.

        47.    Debtor’s failure to accurately complete the SOFA and execution of Official Form

106 constitute a basis to deny Debtor a discharge pursuant to 11 U.S.C. §727(a)(4).



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       48.     Debtor’s failure to comply with the directions of the Trustee and causing the

appeals of the Judgment Order constitute a basis to deny Debtor a discharge pursuant to 11

U.S.C. ¶727(a)(6)(A).

       WHEREFORE, BMO Harris Bank, N.A. prays that this Court enter judgment:

       a)      finding that Charles A. Brahos is non-dischargeable pursuant to 11         USC §

727(a)(2), (4) and (6); and

       (b)     awarding such other relief as the Court deems just and proper.


                                                      BMO HARRIS BANK, N.A.

                                                      By: /s/ Jeffrey E. Altshul
                                                             One of its attorneys

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